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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         Magistrate No.____________________

           v.                                     Violations:

 PATRICK A. STEDMAN,                              18 U.S.C. § 1752(a)(1) and (2)
                                                  40 U.S.C. § 5104(e)(2)(D) and (G)
                 Defendant.
                                                  UNDER SEAL



 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

        I, Elisa Bernazzani, first being duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

        I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been so

employed since 2008. Specifically, I am assigned to the Washington Field Office (WFO) and am

authorized by law or by a Government agency to engage in or supervise the prevention, detention,

investigation, or prosecution of a violation of Federal criminal laws. I am assisting in the

investigation and prosecution of events which occurred at the United States Capitol on January 6,

2021.

                       Incursion at the U.S. Capitol on January 6, 2021
        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24

hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and

temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with

appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the

exterior plaza of the U.S. Capitol was closed to members of the public.
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        On January 6, 2021, a joint session of the United States Congress convened at the United

States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

elected members of the United States House of Representatives and the United States Senate were

meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral

College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint

session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the

House and Senate adjourned to separate chambers to resolve a particular objection. Vice President

Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President

Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the U.S.

Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away

from the Capitol building and the proceedings underway inside

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,

and over the barricades, and officers of the U.S. Capitol Police, and the crowd advanced to the

exterior façade of the building. The crowd was not lawfully authorized to enter or remain in the

building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of

Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

       During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                    PATRICK A. STEDMAN
       PATRICK A. STEDMAN is a 32-year-old resident of Haddonfield, New Jersey.

STEDMAN self identifies as a dating and relationship strategist on his Twitter page, under display

name Pat Stedman, username @Pat_Stedman. STEDMAN is a frequent Twitter user and as of

January 10, 2021 had 25.6K followers.

       A screenshot of STEDMAN’s Twitter Profile page on or about January 10, 2021:
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       In addition to relationship strategy advice, STEDMAN posts and comments regularly on

political topics. STEDMAN posts a “live stream video” called “COVID/CABAL” on his Twitter

account in which he addresses a wide variety of topics.

       Witness 1 submitted a tip to the FBI’s online tip portal on or about January 7, 2021.

According to Witness 1, STEDMAN posted a video to his Twitter account @Pat_Stedman at 3:52

pm on January 6, 2021 where he discussed his participation in the riots: “I was pretty much in the

first wave, and we broke down the doors and climbed up the back part of the Capitol building and

got all the way into the chambers.”

       Witness 1, a college classmate of STEDMAN, was interviewed by the FBI on January 19,

2021 and was “one hundred percent confident” the individual posting on @Pat_Stedman on

Twitter was identical to the Patrick STEDMAN that he has known since college.
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       Witness 2 submitted a tip to the FBI’s online tip portal on or about January 8, 2021 about

STEDMAN posting a video to his Twitter account @Pat_Stedman “storming the Capital, then

bragging about if after.” Witness 2 claimed STEDMAN had been “encouraging his tens of

thousands of fans to join him in DC for weeks.”

       Witness 2, a high school classmate of STEDMAN, was interviewed by the FBI on January

19, 2021 and was “one hundred percent sure” the individual posting on @Pat_Stedman on Twitter

was identical to the Patrick STEDMAN that he has known since high school. Witness 2 believed

STEDMAN resides with his parents at XXXXXXXXXX, XXXXXXX, XX.

       On or about December 30, 2020, STEDMAN posted to his Twitter account a message

about going to Washington, DC on January 6, 2021. He instructed his followers to “DM” (direct

message) him if they were planning on going because he was a assembling a “team.”

       A screenshot of STEDMAN’s Twitter posts on or about December 30, 2020:




                     STEDMAN’S CONDUCT ON JANUARY 6, 2021
       On January 5, 2021, STEDMAN posted on Twitter, under display name Pat Stedman,

username @Pat_Stedman [hereinafter STEDMAN’s Twitter posts will refer to this account],
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“Follow @drtigerjoseph for feed of DC. Incredible energy. Heading down myself tonight. See you

there!”

          A screenshot of STEDMAN’s Twitter post on January 5, 2021:




          On January 5, 2021, STEDMAN posted on Twitter a video of an incident on what appears

to be a train indicating he was a passenger on a train.

          A screenshot of STEDMAN’s Twitter post on January 5, 2021:




          On January 6, 2021, STEDMAN posted on Twitter videos that appears to have been taken

from inside the U.S. Capitol. In the first image, STEDMAN posted, “Backwards hat (Antifa) right

where they were breaking into the main area of Congress.”
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        A screenshot of STEDMAN’s Twitter post on January 6, 2021:




       In another video, STEDMAN posted, “I can tell you having been in the Capitol these videos

the MSM (mainstream media) is showing of fights between cops and protestors are unlike any of

the dynamics I saw. Does this look like a “tense” scene to you?” In another post, STEDMAN

posted, “[s]hots fired, guns drawn by guards.”

       A screenshot of STEDMAN’s Twitter post on January 6, 2021:
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       In a video posted to STEDMAN’s account on Twitter titled “COVID / CABAL –

PATRIOT’S DAY” on January 6 2021, STEDMAN appeared on video and discussed the details

of his presence inside the U.S. Capitol, including sitting in Speaker of the House of Representatives

Nancy Pelosi’s office.

       A screenshot of the video posted to STEDMAN’s Twitter on January 6, 2021:
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       Based upon the likeness of the main speaker in the COVID / CABAL – PATRIOT’S DAY

video to photographs of STEDMAN with the New York and New Jersey Department of Motor

Vehicles (DMV), a 2017 application with the New York State Liquor Authority, as well as

speaking appearances in YouTube videos where STEDMAN is introduced by name, I submit the

STEDMAN shown in the Twitter footage at the Capitol is one and the same.

       Accordingly, your affiant submits that there is probable cause to believe that STEDMAN

committed violations of 18 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)(2).
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                                        CONCLUSION

       Based on my training and experience, and the information provided in this affidavit, there

is probable cause to believe that on or about January 6, 2021, in the District of Columbia,

PATRICK STEDMAN did knowingly and willfully commit the offenses of Unlawful Entry of a

Restricted Building, in violation of Title 18, Section 1752(a)(1) and (2), and Disorderly Conduct

on Capitol Grounds, in violation of Title 40, Section 5104(e)(2) and (G).




                                                    _________________________________
                                                    Special Agent Elisa Bernazzani
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 20th day of January 2021.
                                                                     2021.01.20
                                                                     19:19:18 -05'00'
                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
